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VAN−063 Order Dismissing Case − Rev. 03−11−2003

                            UNITED STATES BANKRUPTCY COURT
                               EASTERN DISTRICT OF NORTH CAROLINA
                                                   Wilmington Division

IN RE:
Charlie Jacob Sammis                                        CASE NO.: 17−04639−5−SWH
1012 Stepplechase Road
Wilmington, NC 28412                                        DATE FILED: September 21, 2017

                                                            CHAPTER: 13




                                                  ORDER OF DISMISSAL

The court finds that Charlie Jacob Sammis has/have failed to comply with the provisions of the confirmed
chapter 13 plan or to obtain confirmation of a plan. Cause exists to dismiss this case as to this debtor(s).
Should Charlie Jacob Sammis file another petition within one year, the automatic stay may be limited to 30
days or may not go into effect absent a motion and order imposing or extending the automatic stay. Now
therefore,

IT IS ORDERED that this case is dismissed as to Charlie Jacob Sammis and all funds held by the trustee
shall be disbursed to the appropriate parties as required by the Bankruptcy Code, Federal Rules of
Bankruptcy Procedure and the local rules of this court.

DATED: January 24, 2018

                                                                Stephani W. Humrickhouse
                                                                United States Bankruptcy Judge
